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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                                                                         o
                          SAVANNAH DIVISION                              r*



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 UNITED STATES OF AMERICA                         CR416-260




 ANTHONY POINTER
                                                                               CO

                     CONSENT ORDER OF FORFEITURE


      WHEREAS, on July 6, 2016, a federal grand jury sitting in the Southern

District of Georgia returned a nine-count Indictment against Defendant Anthony

Pointer and six others charging violations of 21 U.S.C.§ 846(Count One- Conspiracy

to Possess with Intent to Distribute and Distribute Quantities of Cocaine); 21 U.S.C.

§ 841(a)(1)(Counts Two through Five -Distribution of Cocaine); 21 U.S.C. § 841(a)(1)

(Count Six - Possession with Intent to Distribute Cocaine); 21 U.S.C. § 856(a)(1)

(Count Seven - Maintaining a Drug-Involved Premises); 18 U.S.C. § 922(g)(1)(Count

Eight — Possession of Firearms by a Convicted Felon); and 18 U.S.C. § 924(c)(Count

Nine - Possession of Firearms in Furtherance of a Drug Trafficking Crime);

      WHEREAS, on October 4, 2016, a federal grand jury sitting in the Southern

District of Georgia returned an eight-count Superseding Indictment against the

Defendant and three others charging violations of 21 U.S.C. § 846 (Count One -

Conspiracy to Possess with Intent to Distribute and Distribute Quantities of

Cocaine); 21 U.S.C.§ 856(a)(1)(Count Two- Maintaining a Drug-Involved Premises);

18 U.S.C. § 922(g)(1)(Count Three - Possession of Firearms by a Convicted Felon);

18 U.S.C. § 924(c)(Count Four - Possession of Firearms in Fiurtherance of a Drug
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